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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )       No. 1:25-cv-10676-BEM
                Plaintiffs,                   )
                                              )
        v.                                    )
                                              )       [PROPOSED] ORDER GRANTING
U.S. Department of Homeland Security, et al., )       DEFENDANTS’ MOTION TO
                                              )       QUASH AND FOR RELIEF FROM
                Defendants.                   )       DISCOVERY
                                              )
                                              )



       Upon consideration of Defendants’ Motion to Quash and For Relief from Discovery (ECF

No. 197), and for good cause shown, the Court hereby GRANTS Defendants’ Motion.



DATED: July _____, 2025                                ___________________________________
                                                       Hon. Brian E. Murphy
                                                       UNITED STATES DISTRICT JUDGE




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